       Case 14-32867 Document 307 Filed in TXSB on 12/06/17 Page 1 of 6




                       UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                §              CASE NO. 14-32867
      Garrison Municipal Partners, LP §
            Debtor                    §              (Chapter 7)

                APPELLEE’S DESIGNATION OF RECORD ON APPEAL
               AND STATEMENT OF ISSUES PURSUANT TO RULE 8006

       Don and Kaye Green, creditors in the above case (hereafter “Appellants”), pursuant to Rule

8006 of Federal Rules of Bankruptcy Procedure, file this Designation of Record on Appeal and

Statement of Issues on Appeal, and respectfully shows as follow:


                                DESIGNATION OF RECORD
                                 Bankruptcy Case 14-32867

1.     All pleadings, motions, exhibits, orders, transcripts, documents (including all sealed
       documents) and other matters on the docket sheet from the bankruptcy case 14-32867.

2.     All Exhibits admitted at hearings/trial in the documents.

3.     All transcripts from all hearings in case 14-32867.

                              STATEMENT OF ISSUES ON APPEAL

1.     Whether the Bankruptcy Court correctly determined the claim of the Greens under Section

       510(b) of the Bankruptcy Code.

2.     Whether the Bankruptcy Court correctly determined that the claim of the Greens was not a

       redemption claim and not a claim for a return of their equity investment.

3.     Whether the Bankruptcy Court correctly determined the response (filed at docket #271) to

       the objection of the Trustee’s Omnibus Objection to Proof of Claim filed by the Chapter 7

       Trustee (filed at docket #252) and matters related thereto.

       DATED: December 6, 2017
        Case 14-32867 Document 307 Filed in TXSB on 12/06/17 Page 2 of 6




                                              Respectfully submitted,

                                              /s/Reese W. Baker
                                              Reese W. Baker
                                              TX State Bar No. 01587700
                                              Baker & Associates
                                              950 Echo Lane, Suite 200
                                              Houston, Texas 77024
                                              ATTORNEY FOR THE APPELLANT

                                    CERTIFICATE OF SERVICE

       I certify that on December 6, 2017, a true and correct copy of this Appellant’s Designation

was served via electronic delivery of the clerk of the bankruptcy court to:

Christopher Adams on behalf of Debtor Garrison Municipal Partners, LP
cadams@oakllp.com, teaston@okinadams.com

Reese W Baker on behalf of Creditor Donald and Kaye Green
courtdocs@bakerassociates.net,
i.go@bakerassociates.net;igotnotices@gmail.com;courtdocsrbaker@gmail.com;courtdocsstaylor
@gmail.com;reese.baker@bakerassociates.net;bakernotices@gmail.com;baker5151calendar@g
mail.com;staff@bakerassociates.net;igo&#0

Carolyn V Carollo on behalf of Creditor Jay Adelson
carolyncarollo@snowspencelaw.com, janissherrill@snowspencelaw.com

Richard Brent Cooper on behalf of Plaintiff Rodney Tow
brent.cooper@cooperscully.com, carol.myers@cooperscully.com

Dwayne R Day on behalf of Interested Party Garrison Capital Management LLC
dday@ddaylaw.com

Colleen McClain Deal on behalf of Creditor BDO USA, LLP
colleen.deal@dlapiper.com, docketingchicago@dlapiper.com

Timothy Micah Dortch on behalf of Defendant Genesis Global Trading, Inc.
micah.dortch@cooperscully.com, luisa.ulluela@cooperscully.com

Timothy Micah Dortch on behalf of Defendant SecondMarket Solutions, Inc.
micah.dortch@cooperscully.com, luisa.ulluela@cooperscully.com

Timothy Micah Dortch on behalf of Defendant The Kawa Capital Management, Inc.
       Case 14-32867 Document 307 Filed in TXSB on 12/06/17 Page 3 of 6




micah.dortch@cooperscully.com, luisa.ulluela@cooperscully.com

Timothy Micah Dortch on behalf of Plaintiff Rodney Tow
micah.dortch@cooperscully.com, luisa.ulluela@cooperscully.com

Timothy Micah Dortch on behalf of Spec. Counsel Cooper & Scully PC
micah.dortch@cooperscully.com, luisa.ulluela@cooperscully.com

Timothy Micah Dortch on behalf of Trustee Rodney D Tow
micah.dortch@cooperscully.com, luisa.ulluela@cooperscully.com

Michael J Durrschmidt on behalf of Creditor JP Bryan
mdurrschmidt@hirschwest.com, lnguyen@hirschwest.com

Michael J Durrschmidt on behalf of Creditor Margaret Vonder Hoya
mdurrschmidt@hirschwest.com, lnguyen@hirschwest.com

David Robert Eastlake on behalf of Defendant Genesis Global Trading, Inc.
eastlaked@gtlaw.com, jamrokg@gtlaw.com

David Robert Eastlake on behalf of Defendant SecondMarket Solutions, Inc.
eastlaked@gtlaw.com, jamrokg@gtlaw.com

David Robert Eastlake on behalf of Defendant SecondMarket, Inc.
eastlaked@gtlaw.com, jamrokg@gtlaw.com

David Robert Eastlake on behalf of Defendant The Kawa Capital Management, Inc.
eastlaked@gtlaw.com, jamrokg@gtlaw.com

David Robert Eastlake on behalf of Plaintiff Rodney Tow
eastlaked@gtlaw.com, jamrokg@gtlaw.com

Dawn S Holiday on behalf of Defendant LaPorte, a Professional Accounting Corporation
dawn.holiday@steptoe-johnson.com, sue.mcnatt@steptoe-johnson.com

Nancy Lynne Holley on behalf of U.S. Trustee US Trustee
nancy.holley@usdoj.gov, Barbara.L.Griffin@usdoj.gov

William James Hotze on behalf of Attorney Diamond McCarthy LLP
William.hotze@pillsburylaw.com

William James Hotze on behalf of Trustee Rodney D Tow
William.hotze@pillsburylaw.com

Julie Mitchell Koenig on behalf of Debtor Garrison Municipal Partners, LP
       Case 14-32867 Document 307 Filed in TXSB on 12/06/17 Page 4 of 6




julie.koenig@cooperscully.com, charlene.stone@cooperscully.com

Julie Mitchell Koenig on behalf of Trustee Rodney D Tow
julie.koenig@cooperscully.com, charlene.stone@cooperscully.com

Kyung Shik Lee on behalf of Attorney Diamond McCarthy LLP
klee@diamondmccarthy.com,
lciaccio@diamondmccarthy.com;cburrow@diamondmccarthy.com

Kyung Shik Lee on behalf of Trustee Rodney D Tow
klee@diamondmccarthy.com,
lciaccio@diamondmccarthy.com;cburrow@diamondmccarthy.com

Andrew Charles Levitt on behalf of Defendant Genesis Global Trading, Inc.
alevitt@ohareparnagian.com

Andrew Charles Levitt on behalf of Defendant SecondMarket Solutions, Inc.
alevitt@ohareparnagian.com

Andrew Charles Levitt on behalf of Defendant SecondMarket, Inc.
alevitt@ohareparnagian.com

Andrew Charles Levitt on behalf of Defendant The Kawa Capital Management, Inc.
alevitt@ohareparnagian.com

Andrew Charles Levitt on behalf of Plaintiff Rodney Tow
alevitt@ohareparnagian.com

Christopher David Lindstrom on behalf of Plaintiff Rodney Tow
chris.lindstrom@cooperscully.com, angela.rhodes@cooperscully.com

Christine A March on behalf of U.S. Trustee US Trustee
christine.a.march@usdoj.gov

Casey Lee Moore on behalf of Creditor BDO USA, LLP
moorec@gtlaw.com, williamssh@gtlaw.com

Casey Lee Moore on behalf of Defendant BDO USA, LLP
moorec@gtlaw.com, williamssh@gtlaw.com

Robert A O'Hare, Jr on behalf of Defendant Genesis Global Trading, Inc.
rohare@ohareparnagian.com

Robert A O'Hare, Jr on behalf of Defendant SecondMarket Solutions, Inc.
rohare@ohareparnagian.com
       Case 14-32867 Document 307 Filed in TXSB on 12/06/17 Page 5 of 6




Robert A O'Hare, Jr on behalf of Defendant SecondMarket, Inc.
rohare@ohareparnagian.com

Robert A O'Hare, Jr on behalf of Defendant The Kawa Capital Management, Inc.
rohare@ohareparnagian.com

Robert A O'Hare, Jr on behalf of Plaintiff Rodney Tow
rohare@ohareparnagian.com

Rakhee V Patel on behalf of Creditor Morgan Stanley Smith Barney, LLC
rpatel@winstead.com, lbayliss@winstead.com

Christina Elise Ponig on behalf of Defendant BDO USA, LLP
christina.ponig@dlapaper.com, heather.hays@dlapiper.com;terri.elliott@dlapiper.com

Richard D Pullman on behalf of Creditor Southwest Securities, Inc.
rpullman@kesslercollins.com

Mark A. Rome on behalf of Interested Party Garrison Capital Management LLC
mark@theromelawfirm.com

Joseph Peak Rovira on behalf of Interested Party Andrews Kurth LLP
josephrovira@andrewskurth.com

Michael D Rubenstein on behalf of Creditor Patricia Allred Thomas
mdrubenstein@liskow.com, lschnabel@Liskow.com

Charles M. Rubio on behalf of Attorney Diamond McCarthy LLP
crubio@diamondmccarthy.com, lciaccio@diamondmccarthy.com

Charles M. Rubio on behalf of Trustee Rodney D Tow
crubio@diamondmccarthy.com, lciaccio@diamondmccarthy.com

Lauren Tow on behalf of Defendant Genesis Global Trading, Inc.
lauren.tow@cooperscully.com,
luisa.ulluela@cooperscully.com;betty.goodlow@cooperscully.com;mary.williams@cooperscully
.com

Lauren Tow on behalf of Defendant SecondMarket Solutions, Inc.
lauren.tow@cooperscully.com,
luisa.ulluela@cooperscully.com;betty.goodlow@cooperscully.com;mary.williams@cooperscully
.com

Lauren Tow on behalf of Defendant SecondMarket, Inc.
       Case 14-32867 Document 307 Filed in TXSB on 12/06/17 Page 6 of 6




lauren.tow@cooperscully.com,
luisa.ulluela@cooperscully.com;betty.goodlow@cooperscully.com;mary.williams@cooperscully
.com

Lauren Tow on behalf of Defendant The Kawa Capital Management, Inc.
lauren.tow@cooperscully.com,
luisa.ulluela@cooperscully.com;betty.goodlow@cooperscully.com;mary.williams@cooperscully
.com

Lauren Tow on behalf of Plaintiff Rodney Tow
lauren.tow@cooperscully.com,
luisa.ulluela@cooperscully.com;betty.goodlow@cooperscully.com;mary.williams@cooperscully
.com

Rodney D Tow
RT@trustesolutions.net;jwarren@rtowtrustee.com;rodneytow@outlook.com;RT@trustesolutions
.com

Rodney D Tow on behalf of Trustee Rodney D Tow
RT@trustesolutions.net;jwarren@rtowtrustee.com;rodneytow@outlook.com;RT@trustesolutions
.com

US Trustee
USTPRegion07.HU.ECF@USDOJ.GOV

Gregg S Weinberg on behalf of Defendant LaPorte, a Professional Accounting Corporation
gweinberg@rmwbhlaw.com,
mrichards@rmwbhlaw.com;gdubey@rmwbhlaw.com;dholiday@rmwbhlaw.com;mrabe@rmwbh
law.com

Joshua W. Wolfshohl on behalf of Defendant Genesis Global Trading, Inc.
jwolfshohl@porterhedges.com, ksteverson@porterhedges.com;egarfias@porterhedges.com


                                               /s/ Reese W. Baker
                                               Reese W. Baker
